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                                                                               Clerk, U.S. District Court, ILCD

                                 /Ed,hE/d^dd^/^dZ/dKhZd
                                 &KZd,EdZ>/^dZ/dK&/>>/EK/^
                                           hZE/s/^/KE

hE/d^dd^^hZ/d/^                         Ϳ
Ey,E'KDD/^^/KE͕                         Ϳ
                                                  Ϳ
        WůĂŝŶƚŝĨĨ͕                               Ϳ
                                                  Ϳ
                 ǀ͘                              Ϳ
                                                  Ϳ
d/DKd,z:͘ZKd,͕                                 Ϳ
                                                  Ϳ
        ĞĨĞŶĚĂŶƚ͕                               Ϳ
                                                  Ϳ        ĂƐĞEŽ͘ϭϭͲĐǀͲϬϮϬϳϵ
                 ĂŶĚ                             Ϳ
                                                  Ϳ
<zKWyZ/^͕/E͕͘DK>/E<͕/E͘             Ϳ
;&ͬ<ͬ/Ed'Zdd^hZ/dz                  Ϳ
/E͘Ϳ͕sE>d͘KZ'͕>>͕                      Ϳ
sKDDEdtKZ<^K&E͕                        Ϳ
                                                  Ϳ
        ZĞůŝĞĨĞĨĞŶĚĂŶƚƐ͘                       Ϳ
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
                                ORDER APPROVING RECEIVER’S FINAL
                                REPORT AND PLAN OF DISTRIBUTION

       dŚĞ ŽƵƌƚ ŚĂǀŝŶŐ ĨŽƵŶĚ ƚŚĂƚ ŶŽƚŝĐĞ ŽĨ ƚŚĞ ŚĞĂƌŝŶŐ ŽŶ ƚŚĞ ZĞĐĞŝǀĞƌ͛Ɛ EŽƚŝĐĞ ZĞŐĂƌĚŝŶŐ

ZĞĐĞŝǀĞƌ͛Ɛ&ŝŶĂůZĞƉŽƌƚĂŶĚWůĂŶŽĨŝƐƚƌŝďƵƚŝŽŶ;&EŽ͘ϮϲϮͿĂŶĚƚŚĞŽƉƉŽƌƚƵŶŝƚǇĨŽƌĂŶǇƉĂƌƚǇ

ŝŶŝŶƚĞƌĞƐƚƚŽŽďũĞĐƚƚŽƚŚŝƐƉůĂŶŚĂǀŝŶŐďĞĞŶĂĚĞƋƵĂƚĞĂŶĚĂƉƉƌŽƉƌŝĂƚĞĂƐƚŽĂůůƉĂƌƚŝĞƐĂĨĨĞĐƚĞĚ

Žƌ ƚŽ ďĞ ĂĨĨĞĐƚĞĚ ďǇ ƚŚĞ ƉůĂŶ ŽĨ ĚŝƐƚƌŝďƵƚŝŽŶ ƉƌŽƉŽƐĞĚ ƚŚĞƌĞŝŶ ĂŶĚ ĨŝůĞĚ ďǇ ZĞĐĞŝǀĞƌ͖ ĂŶĚ ƚŚĞ

ůĞŐĂůĂŶĚĨĂĐƚƵĂůďĂƐĞƐƐĞƚĨŽƌƚŚŝŶƚŚĞĚŽĐƵŵĞŶƚƐĨŝůĞĚŝŶƐƵƉƉŽƌƚŽĨĂƉƉƌŽǀĂůĂŶĚƉƌĞƐĞŶƚĞĚĂƚ

ƚŚĞ ŚĞĂƌŝŶŐ ŽŶ EŽǀĞŵďĞƌ ϰ͕ ϮϬϭϱ ĞƐƚĂďůŝƐŚ ũƵƐƚ ĐĂƵƐĞ ĨŽƌ ƚŚĞ ƌĞůŝĞĨ ŐƌĂŶƚĞĚ ŚĞƌĞŝŶ͖ ĂŶĚ ŝƚ

ŚĂǀŝŶŐďĞĞŶĚĞƚĞƌŵŝŶĞĚĂĨƚĞƌŚĞĂƌŝŶŐŽŶŶŽƚŝĐĞƚŚĂƚƚŚĞƌĞƋƵŝƌĞŵĞŶƚƐĨŽƌĂƉƉƌŽǀĂůŽĨƚŚĞƉůĂŶ

ŚĂǀĞďĞĞŶƐĂƚŝƐĨŝĞĚ͗


                                                WĂŐĞ1ŽĨ6
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                                         6                Page 2 of 24




    EKt͕d,Z&KZ͕/d/^,ZzKZZd,d͗

    ϭ͘ ĂƉŝƚĂůŝǌĞĚ ƚĞƌŵƐ ƵƐĞĚ ŚĞƌĞŝŶ͕ ƵŶůĞƐƐ ŽƚŚĞƌǁŝƐĞ ĚĞĨŝŶĞĚ͕ ƐŚĂůů ŚĂǀĞ ƚŚĞ ŵĞĂŶŝŶŐ

       ĂƐĐƌŝďĞĚƚŽƚŚĞŵŝŶƚŚĞKƌĚĞƌƉƉŽŝŶƚŝŶŐZĞĐĞŝǀĞƌ͕ĨŝůĞĚŚĞƌĞŝŶDĂƌĐŚϯϭ͕ϮϬϭϭ;&

       EŽ͘ϯϭͿ;ƚŚĞ͞KƌĚĞƌƉƉŽŝŶƚŝŶŐZĞĐĞŝǀĞƌ͟Ϳ͖

    Ϯ͘ dŚĞ ZĞĐĞŝǀĞƌ͛Ɛ DŽƚŝŽŶ ĨŽƌ KƌĚĞƌ ƉƉƌŽǀŝŶŐ ZĞĐĞŝǀĞƌ͛Ɛ &ŝŶĂů ZĞƉŽƌƚ ĂŶĚ WůĂŶ ŽĨ

       ŝƐƚƌŝďƵƚŝŽŶ͕ ƉƉƌŽǀŝŶŐ &ŝŶĂů ƉƉůŝĐĂƚŝŽŶ ŽĨ ŽŵƉĞŶƐĂƚŝŽŶ͕ dĞƌŵŝŶĂƚŝŶŐ ƚŚĞ

       ZĞĐĞŝǀĞƌƐŚŝƉ͕ ŝƐĐŚĂƌŐŝŶŐ ƚŚĞ ZĞĐĞŝǀĞƌ͕ ĂŶĚ &Žƌ KƚŚĞƌ ZĞůŝĞĨ͕ ĨŝůĞĚ ďǇ ZĞĐĞŝǀĞƌ͕

       dŝŵŽƚŚǇ>͘ĞƌƚƐĐŚǇ͕ŽŶKĐƚŽďĞƌϵ͕ϮϬϭϱ͕ŝƐGRANTED͖

    ϯ͘ dŚĞ ZĞĐĞŝǀĞƌ͛Ɛ &ŝŶĂů ZĞƉŽƌƚ ĂŶĚ WůĂŶ ŽĨ ŝƐƚƌŝďƵƚŝŽŶ ĂŶĚ ƚŚĞ ĂĐĐŽƵŶƚŝŶŐ ĂŶĚ

       ƉƌŽƉŽƐĞĚ ĚŝƐƚƌŝďƵƚŝŽŶƐ ĂƚƚĂĐŚĞĚ ƚŚĞƌĞƚŽ ĂƐ ǆŚŝďŝƚ  ĂƌĞ ŚĞƌĞďǇ APPROVED ĂŶĚ

       CONFIRMED͖ subject to Paragraph 16 below regarding Attorneys' fees and expenses.

    ϰ͘ dŚĞ ZĞĐĞŝǀĞƌ ŝƐ ĂƵƚŚŽƌŝǌĞĚ ƚŽ ƉĂǇ ƚŚĞ ŽƵƚƐƚĂŶĚŝŶŐ ƉƌŽĨĞƐƐŝŽŶĂů ĨĞĞƐ ĂŶĚ ĞǆƉĞŶƐĞƐ

       ĂŶĚƚŽ ĚŝƐƚƌŝďƵƚĞƚŽƚŚĞĂŐŐƌŝĞǀĞĚŝŶǀĞƐƚŽƌƐĂŶǇ ĨƵŶĚƐƚŚĞƌĞĂĨƚĞƌƌĞŵĂŝŶŝŶŐ͕ĂƐƐĞƚ

       ĨŽƌƚŚ ŝŶ ƚŚĞ ĨŝŶĂů ĂĐĐŽƵŶƚŝŶŐ ĂƚƚĂĐŚĞĚ ƚŽ ƚŚĞ ZĞĐĞŝǀĞƌ͛Ɛ &ŝŶĂů ZĞƉŽƌƚ ĂŶĚ WůĂŶ ŽĨ

       ŝƐƚƌŝďƵƚŝŽŶ͖ Ăůů ĚŝƐƚƌŝďƵƚŝŽŶƐ ĂŶĚ ƉĂǇŵĞŶƚƐ ƐŚĂůů ďĞ ŵĂĚĞ ŝŶ ĂĐĐŽƌĚĂŶĐĞ ǁŝƚŚ ƚŚĞ

       ƉƌŽƉŽƐĞĚ ĚŝƐƚƌŝďƵƚŝŽŶƐ ƐĞƚ ĨŽƌƚŚ ŝŶ ǆŚŝďŝƚ  ƚŽ ƚŚĞ ZĞĐĞŝǀĞƌ͛Ɛ &ŝŶĂů ZĞƉŽƌƚ ĂŶĚ

       WƌŽƉŽƐĞĚWůĂŶŽĨŝƐƚƌŝďƵƚŝŽŶ͖

    ϱ͘ dŽƚŚĞĞǆƚĞŶƚŶŽƚĞǆƉůŝĐŝƚůǇĂĚĚƌĞƐƐĞĚŝŶƚŚŝƐKƌĚĞƌ͕Ăůů ƉƌŽĐĞĚƵƌĞƐƐĞƚĨŽƌƚŚŝŶƚŚĞ

       &ŝŶĂůZĞƉŽƌƚĂŶĚWůĂŶŽĨŝƐƚƌŝďƵƚŝŽŶĂƌĞAPPROVEDANDAUTHORIZED͖

    ϲ͘ dŚĞĨŽůůŽǁŝŶŐƐĞƚƚůĞŵĞŶƚƐ͕ŶĞŐŽƚŝĂƚĞĚĂŶĚĞŶƚĞƌĞĚŝŶƚŽďǇƚŚĞZĞĐĞŝǀĞƌǁŝƚŚǀĂƌŝŽƵƐ

       ƉĂƌƚŝĞƐ͕ĂŶĚĐůĂŝŵƐŽĨƚŚĞZĞĐĞŝǀĞƌ͕ƐŚĂůůƐƵƌǀŝǀĞďĞǇŽŶĚƚŚĞĚĂƚĞŽĨƚŚŝƐKƌĚĞƌ͕ĂŶĚ

       ƚŚĞ ZĞĐĞŝǀĞƌ ƐŚĂůů ĐŽŶƚŝŶƵĞ ƚŽ ŚĂǀĞ ƚŚĞ ƉŽǁĞƌƐ ƐĞƚ ĨŽƌƚŚ ŝŶ ƚŚĞ KƌĚĞƌ ƉƉŽŝŶƚŝŶŐ


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       ZĞĐĞŝǀĞƌƐŽůĞůǇĨŽƌƚŚĞƉƵƌƉŽƐĞŽĨƉƌŽƐĞĐƵƚŝŶŐĂŶĚĂĚŵŝŶŝƐƚĞƌŝŶŐƚŚĞƐĞŵĂƚƚĞƌƐ͘

           Ă͘ dŚĂƚ ĐĞƌƚĂŝŶ ƐĞƚƚůĞŵĞŶƚ ƐĞƚ ĨŽƌƚŚ ŝŶ ƚŚĞ ZĞĐĞŝǀĞƌ͛Ɛ DŽƚŝŽŶ ƚŽ ƉƉƌŽǀĞ

               ^ĞƚƚůĞŵĞŶƚǁŝƚŚůĂĐŬĂƌĚDĞĚŝĂĂŶĚƚŝƐŚŽƐŚŝ;&EŽ͘ϮϬϲͿĂƐĂƉƉƌŽǀĞĚ

               ďǇƚŚŝƐŽƵƌƚŽŶ:ƵůǇϯϬ͕ϮϬϭϱ;&EŽ͘ϮϬϵͿ͖

           ď͘ dŚĂƚ ĐĞƌƚĂŝŶ ƐĞƚƚůĞŵĞŶƚ ƐĞƚ ĨŽƌƚŚ ŝŶ ƚŚĞ ZĞĐĞŝǀĞƌ͛Ɛ DŽƚŝŽŶ ƚŽ ƉƉƌŽǀĞ

               ^ĞƚƚůĞŵĞŶƚǁŝƚŚ>ĞŽŶKĚĞŶĚĂĂů;&EŽ͘ϮϭϭͿĂƐĂƉƉƌŽǀĞĚďǇƚŚŝƐŽƵƌƚŽŶ

               KĐƚŽďĞƌϭϭ͕ϮϬϭϯ;&EŽ͘ϮϭϮͿ͖

           Đ͘ dŚĂƚ ĐĞƌƚĂŝŶ ƐĞƚƚůĞŵĞŶƚ ƐĞƚ ĨŽƌƚŚ ŝŶ ƚŚĞ ZĞĐĞŝǀĞƌ͛Ɛ DŽƚŝŽŶ ƚŽ ƉƉƌŽǀĞ

               ^ĞƚƚůĞŵĞŶƚĞƚǁĞĞŶƚŚĞZĞĐĞŝǀĞƌ͕ĂƵŐŚƚŝŶƚŚĞƌŽƐƐĨŝƌĞ͕>>ĂŶĚZŝĐŚĂƌĚ͘

               DŝůůĞƌ;& EŽ ϮϱϰͿĂƐĂƉƉƌŽǀĞĚďǇƚŚŝƐŽƵƌƚŽŶ^ĞƉƚĞŵďĞƌϭϭ͕ϮϬϭϱ;&

               EŽϮϲϭͿ͖ĂŶĚ

           Ě͘ dŚŽƐĞ ĐĞƌƚĂŝŶ ƐĞƚƚůĞŵĞŶƚƐ ĂŶĚ ĐůĂŝŵƐ ĂƌŝƐŝŶŐ ŽƵƚ ŽĨ ƚŚĞ &ŝƌƐƚ ŵĞŶĚĞĚ

               KŵŶŝďƵƐŽŵƉůĂŝŶƚŝŶTimothy L. Bertschy, Receiver v. Anthony Roth͕et. al͕͘

               ĂƐĞEŽ͘ϭϯͲsͲϭϮϵϴĞǆĐĞƉƚƚŽƚŚĞĞǆƚĞŶƚƐƵĐŚ ĐůĂŝŵƐǁĞƌĞĚŝƐŵŝƐƐĞĚǁŝƚŚ

               ƉƌĞũƵĚŝĐĞ͘

    ϳ͘ dŚŝƐŽƵƌƚƐŚĂůůƌĞƚĂŝŶũƵƌŝƐĚŝĐƚŝŽŶŽǀĞƌƚŚĞƌĞŵĂŝŶŝŶŐŵĂƚƚĞƌƐƐĞƚĨŽƌƚŚŝŶWĂƌĂŐƌĂƉŚ

       ϲĂďŽǀĞ͘ůůƉĂƌƚŝĞƐƚŽƚŚŝƐŵĂƚƚĞƌĂŶĚĂůůƉĞƌƐŽŶƐǁŚŽƌĞĐĞŝǀĞĂĐƚƵĂůŶŽƚŝĐĞŽĨƚŚŝƐ

       KƌĚĞƌ ĂƌĞ ƉĞƌŵĂŶĞŶƚůǇ RESTRAINED AND ENJOINED ĨƌŽŵ ƉƌŽĐĞĞĚŝŶŐ ŝŶ ĂŶǇ

       ůŝƚŝŐĂƚŝŽŶ ĂŐĂŝŶƐƚ ƚŚĞ ZĞĐĞŝǀĞƌ͕ ŚŝƐ ĂƚƚŽƌŶĞǇƐ͕ ĂĐĐŽƵŶƚĂŶƚƐ ĂŶĚ ĐŽŶƐƵůƚĂŶƚƐ ǁŝƚŚŽƵƚ

       ĨŝƌƐƚ ŽďƚĂŝŶŝŶŐ ůĞĂǀĞ ƚŽ ƐƵĞ ĨƌŽŵ ƚŚŝƐ ŽƵƌƚ͘  dŽ ƚŚĞ ĞǆƚĞŶƚ ĂŶǇ ĚŝƐƉƵƚĞ ĂƌŝƐĞƐ

       ĐŽŶĐĞƌŶŝŶŐƚŚĞZĞĐĞŝǀĞƌΖƐĂĚŵŝŶŝƐƚƌĂƚŝŽŶŽĨƚŚĞƌĞĐĞŝǀĞƌƐŚŝƉĞƐƚĂƚĞ͕ŽƌƚŽƚŚĞĞǆƚĞŶƚ

       ĂŶǇ ƉĞƌƐŽŶ Žƌ ĞŶƚŝƚǇ ƐĞĞŬƐ ƚŽ ƉƵƌƐƵĞ Žƌ ĂƐƐĞƌƚ ĂŶǇ ĐůĂŝŵ Žƌ ĂĐƚŝŽŶ ĂŐĂŝŶƐƚ ƚŚĞ


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        ZĞĐĞŝǀĞƌŽƌĂŶǇŽĨŚŝƐĂƚƚŽƌŶĞǇƐ͕ĂĐĐŽƵŶƚĂŶƚƐŽƌĐŽŶƐƵůƚĂŶƚƐ͕ĂƌŝƐŝŶŐŽƵƚŽĨŽƌƌĞůĂƚĞĚ

        ƚŽƚŚŝƐƌĞĐĞŝǀĞƌƐŚŝƉ͕ƚŚĞŽƵƌƚƐŚĂůůƌĞƚĂŝŶũƵƌŝƐĚŝĐƚŝŽŶƚŽŚĞĂƌĂŶĚƌĞƐŽůǀĞĂŶǇƐƵĐŚ

        ĚŝƐƉƵƚĞŽƌĐůĂŝŵ͘

    ϴ͘ dŚĞ ZĞĐĞŝǀĞƌ ŝƐ ŚĞƌĞďǇ ĂƵƚŚŽƌŝǌĞĚ ƚŽ ĞŶƚĞƌ ŝŶƚŽ ƐƵĐŚ ƐĞƚƚůĞŵĞŶƚ ĂŐƌĞĞŵĞŶƚƐ Žƌ

        ŽƚŚĞƌǁŝƐĞ ĨƵůůǇ ƉƌŽƐĞĐƵƚĞ ƐƵƌǀŝǀŝŶŐ ĂŶĚ ƉĞŶĚŝŶŐ ŵĂƚƚĞƌƐ ĂƐ ƐĞƚ ĨŽƌƚŚ ŝŶ ƚŚĞ

        ZĞĐĞŝǀĞƌ͛Ɛ DŽƚŝŽŶ ĨŽƌ KƌĚĞƌ ƉƉƌŽǀŝŶŐ ZĞĐĞŝǀĞƌ͛Ɛ &ŝŶĂů ZĞƉŽƌƚ ĂŶĚ WůĂŶ ŽĨ

        ŝƐƚƌŝďƵƚŝŽŶ͕ ƉƉƌŽǀŝŶŐ &ŝŶĂů ƉƉůŝĐĂƚŝŽŶ ŽĨ ŽŵƉĞŶƐĂƚŝŽŶ͕ dĞƌŵŝŶĂƚŝŶŐ ƚŚĞ

        ZĞĐĞŝǀĞƌƐŚŝƉ͕ŝƐĐŚĂƌŐŝŶŐƚŚĞZĞĐĞŝǀĞƌĂŶĚĨŽƌKƚŚĞƌZĞůŝĞĨǁŝƚŚŽƵƚĨƵƌƚŚĞƌŽƌĚĞƌŽĨ

        ƚŚŝƐ ŽƵƌƚ ĂŶĚ ĂƉƉůǇ ĂŶǇ ƌĞĐŽǀĞƌǇ ƚŽ ĂƚƚŽƌŶĞǇƐ͛ ĨĞĞƐ ĂŶĚ ĞǆƉĞŶƐĞƐ ŝŶĐƵƌƌĞĚ ŝŶ ƚŚĞ

        ƉƌŽƐĞĐƵƚŝŽŶ ƚŚĞƌĞŽĨ ĂƐ ƐĞƚ ĨŽƌƚŚ ŝŶ ƚŚĞ ZĞĐĞŝǀĞƌ͛Ɛ &ŝŶĂů ZĞƉŽƌƚ ĂŶĚ WůĂŶ ŽĨ

        ŝƐƚƌŝďƵƚŝŽŶ͘&ƵŶĚƐƌĞŵĂŝŶŝŶŐĂĨƚĞƌƉĂǇŵĞŶƚŽĨĂƚƚŽƌŶĞǇƐ͛ĨĞĞƐĂŶĚĞǆƉĞŶƐĞƐǁŝůůďĞ

        ĚŝƐƚƌŝďƵƚĞĚŝŶĂĐĐŽƌĚĂŶĐĞǁŝƚŚƚŚĞƉůĂŶŽĨĚŝƐƚƌŝďƵƚŝŽŶ͕ƐƵďũĞĐƚƚŽƚŚĞƉƌŝŽƌŝƚǇŽĨĂŶǇ

        ĨĞĚĞƌĂůƚĂǆĐůĂŝŵƐ͘

    ϵ͘ ĨƚĞƌ Ăůů ĂĐƚŝǀŝƚŝĞƐ ŽĨ ƚŚĞ ZĞĐĞŝǀĞƌ ŚĂǀĞ ďĞĞŶ ĐŽŵƉůĞƚĞĚ͕ ƚŚĞ ZĞĐĞŝǀĞƌ ƐŚĂůů ĨŝůĞ Ă

        ƐŝŵƉůĞEŽƚŝĐĞǁŝƚŚƚŚĞŽƵƌƚĂĚǀŝƐŝŶŐƚŚĂƚĂůůŵĂƚƚĞƌƐŝŶƚŚŝƐƌĞĐĞŝǀĞƌƐŚŝƉŚĂǀĞďĞĞŶ

        ĐŽŶĐůƵĚĞĚ ĂŶĚ ƚŚĂƚ ƚŚĞ ƌĞĐĞŝǀĞƌƐŚŝƉ ĐĂŶ ďĞ ĐůŽƐĞĚ͘ hƉŽŶ ĨŝůŝŶŐ ŽĨ ƚŚĞ EŽƚŝĐĞ͕ ƚŚĞ

        ƌĞĐĞŝǀĞƌƐŚŝƉ ǁŝůů ďĞ ƚĞƌŵŝŶĂƚĞĚ ĂŶĚ ƚŚŝƐ ĐĂƐĞ ǁŝůů ďĞ ĐůŽƐĞĚ ǁŝƚŚŽƵƚ ŶĞĐĞƐƐŝƚǇ ŽĨ

        ĨƵƌƚŚĞƌKƌĚĞƌŽĨƚŚĞŽƵƌƚ͕ĂŶĚƚŚĞZĞĐĞŝǀĞƌƐŚĂůůďĞƌĞůŝĞǀĞĚŽĨĂůůŽĨŚŝƐĚƵƚŝĞƐĂŶĚ

        ŽďůŝŐĂƚŝŽŶƐƵŶĚĞƌƚŚĞŽƌĚĞƌƐĞŶƚĞƌĞĚŝŶƚŚŝƐŵĂƚƚĞƌ͕ƵŶĚĞƌƚŚĞƚĞƌŵƐĂŶĚĐŽŶĚŝƚŝŽŶƐ

        ƐĞƚĨŽƌƚŚŚĞƌĞŝŶ͘

    ϭϬ͘ hƉŽŶ ƚŚĞ ĨŝůŝŶŐ ŽĨ ƚŚĞ EŽƚŝĐĞ ƉƌŽǀŝĚĞĚ ĨŽƌƚŚ ĂďŽǀĞ͕ dŝŵŽƚŚǇ >͘ ĞƌƚƐĐŚǇ͕ ƚŚĞ

        ZĞĐĞŝǀĞƌ͕ ŝƐ ĂŶĚ ƐŚĂůů ďĞ ĨƵůůǇ ƌĞůŝĞǀĞĚ ĂŶĚ ĚŝƐĐŚĂƌŐĞĚ ŽĨ Ăůů ŽĨ ŚŝƐ ĚƵƚŝĞƐ ĂŶĚ


                                           WĂŐĞ4ŽĨ6
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        ŽďůŝŐĂƚŝŽŶƐ ƵŶĚĞƌ ƚŚĞ ŽƌĚĞƌƐ ĞŶƚĞƌĞĚ ŝŶ ƚŚŝƐ ŵĂƚƚĞƌ ĂŶĚ ĂŶǇ ŽƚŚĞƌ ĚƵƚŝĞƐ Žƌ

        ŽďůŝŐĂƚŝŽŶƐŝŶĐŝĚĞŶƚƚŽŚŝƐĂƉƉŽŝŶƚŵĞŶƚŽƌƐĞƌǀŝĐĞĂƐZĞĐĞŝǀĞƌŝŶƚŚŝƐĂĐƚŝŽŶ͘

    ϭϭ͘ /ƚ ŝƐ ĨƵƌƚŚĞƌ DECLARED ƚŚĂƚ Ăůů ĂĐƚŝŽŶƐ ƚĂŬĞŶ ďǇ ƚŚĞ ZĞĐĞŝǀĞƌ͕ ŚŝƐ ĂƚƚŽƌŶĞǇ ĂŶĚ ŚŝƐ

        ĨŝŶĂŶĐŝĂů ĂĚǀŝƐŽƌ ŝŶ ƚŚŝƐ ŵĂƚƚĞƌ ǁĞƌĞ ƚĂŬĞŶ ŝŶ ƚŚĞ ƉƌŽƉĞƌ ĂĚŵŝŶŝƐƚƌĂƚŝŽŶ ŽĨ ƚŚĞ

        ZĞĐĞŝǀĞƌƐŚŝƉ ƐƚĂƚĞ ĂŶĚ ƚŚĂƚ ƚŚĞ ZĞĐĞŝǀĞƌ ĚŝĚ ŶŽƚ ͞ĐŽŶĚƵĐƚ ďƵƐŝŶĞƐƐ͟ ŽĨ ƚŚĞ

        ĞĨĞŶĚĂŶƚŽƌZĞůŝĞĨĞĨĞŶĚĂŶƚƐŽƌZĞĐĞŝǀĞƌƐŚŝƉƐƚĂƚĞƐ͘

    ϭϮ͘ EĞŝƚŚĞƌƚŚĞZĞĐĞŝǀĞƌŶŽƌĂŶǇŽĨŚŝƐĂƚƚŽƌŶĞǇƐ͕ĂĐĐŽƵŶƚĂŶƚƐŽƌĐŽŶƐƵůƚĂŶƚƐƐŚĂůůŚĂǀĞ

        ĂŶǇůŝĂďŝůŝƚǇƚŽĂŶǇƉĞƌƐŽŶŽƌĞŶƚŝƚǇĨŽƌĂŶǇĂĐƚŝŽŶƚĂŬĞŶŝŶĐŽŶŶĞĐƚŝŽŶǁŝƚŚĐĂƌƌǇŝŶŐ

        ŽƵƚƚŚĞƉƌŽĐĞĚƵƌĞƐƐĞƚĨŽƌƚŚŝŶƚŚŝƐKƌĚĞƌŽƌĂŶǇŽƚŚĞƌŽƌĚĞƌƐĞŶƚĞƌĞĚŝŶƚŚŝƐĂĐƚŝŽŶ͕

        ŽƌŽƚŚĞƌǁŝƐĞƚĂŬĞŶŝŶĐŽŶŶĞĐƚŝŽŶǁŝƚŚƚŚĞZĞĐĞŝǀĞƌΖƐĂƉƉŽŝŶƚŵĞŶƚŽƌƐĞƌǀŝĐĞŝŶƚŚŝƐ

        ĂĐƚŝŽŶ͘dŚĞZĞĐĞŝǀĞƌĂŶĚŚŝƐĂƚƚŽƌŶĞǇƐ͕ĂĐĐŽƵŶƚĂŶƚƐ͕ĂŶĚĐŽŶƐƵůƚĂŶƚƐĂƌĞŚĞƌĞďǇĨƵůůǇ

        ƌĞůĞĂƐĞĚĂŶĚĚŝƐĐŚĂƌŐĞĚĨƌŽŵĂŶǇĂŶĚĂůůĐůĂŝŵƐĂŶĚĐĂƵƐĞƐŽĨĂĐƚŝŽŶǁŚŝĐŚŵŝŐŚƚďĞ

        ďƌŽƵŐŚƚ ĂŐĂŝŶƐƚ ƚŚĞŵ ĨŽƌ ŵĂƚƚĞƌƐ ĂƌŝƐŝŶŐ ĨƌŽŵ ƚŚĞŝƌ ĂĚŵŝŶŝƐƚƌĂƚŝŽŶ ŽĨ ƚŚĞ ĂƐƐĞƚƐ

        ƚƵƌŶĞĚ ŽǀĞƌ ƚŽ ƚŚĞ ZĞĐĞŝǀĞƌ͕ ŝŶĐůƵĚŝŶŐ ǁŝƚŚŽƵƚ ůŝŵŝƚĂƚŝŽŶ ĂŶǇ ĐůĂŝŵ ĐŽŶĐĞƌŶŝŶŐ Žƌ

        ƌĞůĂƚŝŶŐƚŽƚŚĞĨŝůŝŶŐŽĨĂŶǇůŽĐĂů͕ƐƚĂƚĞ͕ŽƌĨĞĚĞƌĂůƚĂǆƌĞƚƵƌŶƐĨŽƌƚŚĞĞĨĞŶĚĂŶƚĂŶĚ

        ZĞůŝĞĨĞĨĞŶĚĂŶƚƐĂŶĚͬŽƌƚŚĞƌĞƉŽƌƚŝŶŐŽĨĂŶǇŝŶĐŽŵĞ͕ĂƐƐĞƚƐ͕ŽƌƚĂǆĐŽŶƐĞƋƵĞŶĐĞƐ

        ƚŽ ĂŶǇ ƉĞƌƐŽŶ Žƌ ĞŶƚŝƚǇ͖ ŽŶůǇ ƚŚŽƐĞ ŵĂƚƚĞƌƐ ƐĞƚ ĨŽƌƚŚ ŝŶ ƉĂƌĂŐƌĂƉŚ ϲ ĂďŽǀĞ ƐŚĂůů

        ƐƵƌǀŝǀĞ͕ǁŚŝĐŚƵƉŽŶƚŚĞĨŝůŝŶŐŽĨƚŚĞEŽƚŝĐĞƉƌŽǀŝĚĞĚĨŽƌĂďŽǀĞƐŚĂůůďĞĨƵůůǇƌĞůĞĂƐĞĚ

        ĂŶĚĚŝƐĐŚĂƌŐĞĚĂƐŽƵƚůŝŶĞĚŚĞƌĞŝŶ͖

    ϭϯ͘ dŚĞŽƵƌƚƌĞƚĂŝŶƐũƵƌŝƐĚŝĐƚŝŽŶŽǀĞƌƚŚĞŵĂƚƚĞƌƐƐĞƚĨŽƌƚŚŝŶƚŚĞƉůĂŶ͖

    ϭϰ͘ /ƚŝƐĨƵƌƚŚĞƌORDERED ƚŚĂƚƚŚĞZĞĐĞŝǀĞƌŝƐĂƵƚŚŽƌŝǌĞĚƚŽĂďĂŶĚŽŶĂŶǇŝŶƚĞƌĞƐƚŝŶƚŚĞ

        ƌĞĐŽƌĚƐ ĂŶĚ ĂƐƐĞƚƐ ŽĨ ƚŚĞ ĞĨĞŶĚĂŶƚ ĂŶĚ ZĞůŝĞĨ ĞĨĞŶĚĂŶƚƐ͕ ĂŶĚ ƚŚĞ ZĞĐĞŝǀĞƌ ŝƐ


                                           WĂŐĞ5ŽĨ6
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                              2:11-cv-02079-MMM # 290                Page 6 of 24




               ĂƵƚŚŽƌŝǌĞĚƚŽ ĚĞƐƚƌŽǇŽƌŽƚŚĞƌǁŝƐĞĚŝƐƉŽƐĞ ŽĨƚŚĞƌĞĐŽƌĚƐĂŶĚƌĞŵĂŝŶŝŶŐĂƐƐĞƚƐŽĨ

               ƚŚĞ ĞĨĞŶĚĂŶƚ ĂŶĚ ZĞůŝĞĨ ĞĨĞŶĚĂŶƚƐ͕ ŝŶĐůƵĚŝŶŐ ďƵƚ ŶŽƚ ůŝŵŝƚĞĚ ƚŽ ƚŚĞ ĐůŽƐƵƌĞ ĂŶĚ

               ƌĞŵŽǀĂůŽĨƚŚĞZĞĐĞŝǀĞƌ͛ƐǁĞďƐŝƚĞĂƚǁǁǁ͘ƌŽƚŚĐŽƐƌĞĐĞŝǀĞƌ͘ĐŽŵ͖ĂŶĚ

            ϭϱ͘ KŶůǇƚŚŽƐĞĐůĂŝŵƐƐĞƚĨŽƌƚŚŝŶWĂƌĂŐƌĂƉŚϲŚĞƌĞŽĨƐŚĂůůƐƵƌǀŝǀĞĞŶƚƌǇŽĨƚŚŝƐKƌĚĞƌ͖

               ƉƵƌƐƵĂŶƚƚŽZƵůĞϱϰ;ďͿŽĨƚŚĞ&ĞĚĞƌĂůZƵůĞƐŽĨŝǀŝůWƌŽĐĞĚƵƌĞ͕ƚŚĞŽƵƌƚĨŝŶĚƐƚŚĂƚ

               ƚŚĞƌĞŝƐŶŽũƵƐƚĐĂƵƐĞĨŽƌƚŚĞĚĞůĂǇŝŶĞŶƚƌǇŽĨƚŚĞũƵĚŐŵĞŶƚƐƐĞƚĨŽƌƚŚŚĞƌĞŝŶ͕ĂŶĚ

               ƚŚŝƐ KƌĚĞƌ ŝƐ Ă ĨŝŶĂů ŽƌĚĞƌ ĂŶĚ ƚŚĞ ƉĞƌŝŽĚ ŝŶ ǁŚŝĐŚ ĂŶ ĂƉƉĞĂů ŵƵƐƚ ďĞ ĨŝůĞĚ ƐŚĂůů

               ĐŽŵŵĞŶĐĞƵƉŽŶƚŚĞĞŶƚƌǇŚĞƌĞŽĨ͘

           16. Attorneys' fees and expenses outstanding through November 3, 2015, shall
                be allowed in the amount of $587,922.37. The outstanding amount reflects

                the amount to be paid after credit for previous interim payments (See Orders
                dated December 21, 2011, and October 5, 2012), reductions based on Affidavit
                (ECF No. 286), and this Court's review. (Outstanding fees: $561,350.08, Outstanding
        
                 Expenses: $26,572.29).
                          
                                                



             Entered this 17th day of November 2015.



                                                                /s/ Michael M. Mihm
                                                             ____________________________
                                                                   Judge Michael M. Mihm




                                                    WĂŐĞ6ŽĨ6
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                       2:11-cv-02079-MMM # 290           Page 7 of 24




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE CENTRAL DISTRICT OF ILLINOIS
                                       URBANA DIVISION

UNITED STATES SECURITIES                    )
AND EXCHANGE COMMISSION,                    )
                                            )
       Plaintiff,                           )
                                            )
               v.                           )
                                            )
TIMOTHY J. ROTH,                            )
                                            )
       Defendant,                           )
                                            )      Case No. 11-cv-02079
               and                          )
                                            )
KEYOP EXERCISE, INC., MEZOLINK, INC.        )
(F/K/A INTEGRATED DATA SECURITY             )
INC.), VCN CELECT.ORG, LLC,                 )
VCOMM NETWORKS OF CANADA,                   )
                                            )
       Relief Defendants.                   )

                  RECEIVER’S FINAL REPORT AND PLAN OF DISTRIBUTION
                As attached to this Court's Order dated November 17, 2015
       Timothy L. Bertschy, the Receiver (the “Receiver”), hereby files this Final Report and

Plan of Distribution (the “Plan”) for the liquidation, distribution and/or disposal of the

remaining assets of the Receiver. A hearing on confirmation of the Plan has been set for

November 4, 2015 at 10:00 am (Central Time). Your rights may be affected. You should read

these papers carefully and discuss them with your attorney, if you have one. All creditors

should refer to the contents of this Plan for information regarding the precise treatment of

their claims, and for instructions on how objections may be made.

I.     SUMMARY OF THE PLAN

       As of the date of this filing, the Receiver's investigation of its assets and affairs has


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substantially concluded. The Plan set forth herein provides for the distribution or other

disposition of substantially all of the remaining assets constituting the receivership estate (the

“Receivership Estate” or “Estate”). Distribution of the funds (set forth below) shall occur no

later than twenty (20) days following approval and confirmation of the Plan by this Court and

entry of the Final Order. Although the disclosures made herein reflect the best information

available at this time, they are subject to change.

        Attached hereto as Exhibit “A” is a final accounting (current through September 30,

2015) (the “Final Accounting”), which shows recoveries, outstanding attorneys’ fees and

expenses, and proposed distributions. The Final Accounting reflects that, as of September 30,

2105, the Receivership holds $629,365.82 in liquid assets. The Receiver’s attorneys’ fees and

expenses through September 30, 2015 total $593,412.81. The Receiver requests, by separate

motion, that these amounts, as well as any additional fees incurred in prior to entry of the Final

Order, be satisfied from the total amount of liquid assets in the Receivership Estate. Finally, the

Receiver expects an additional distribution from the SEC Fair Fund in the amount of

$120,000.00.1 (See Order Approving Plan of Distribution, in In the Matter of Comprehensive

Capital Management, Inc., Respondent, United States Securities and Exchange Commission file

number: 3-15393, entered June 23, 2015, release number 75264 (the “SEC Order Approving

Plan of Distribution”)).

        Also, the Receiver currently has a number of outstanding settlements which are set to

be paid for a period past the life of the Receivership Estate. It is recommended that any

amounts remaining or recovered following termination of the Receivership Estate, after

1
 Receipt of the funds of the SEC Fair Fund is contingent upon approval, by the SEC of the Receiver’s proposed Plan
of Distribution.

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application of any attorneys’ fees and expenses, be distributed to the injured investors as set

forth below.

        As set forth in the Final Accounting, the Receiver proposes the following distributions:

(1) the Fair Fund shall be distributed to all investors harmed by the fraud of Timothy Roth (as

required by the SEC’s Order Approving Plan of Distribution); at the hearing set for November 4,

2015, the Receiver will present an updated accounting reflecting fees and expenses incurred by

the Receiver through that date; and (2) to the extent that any funds remain following this

Court’s entry of the order approving the Receiver’s Final Report and Plan of Distribution, the

Receiver proposes they be distributed according to allocation set forth in the Final Accounting.2

Assuming the best case scenario in which all future settlement funds are received from

settlements and claims which survive the Receivership, it is not expected that the injured

investors will be fully compensated for their losses. Accordingly, it is not expected that any

funds will remain available for distribution to other creditors, including taxing authorities, of the

Receivership Estate.

II.     BACKGROUND

           a. Events Leading to Receiver’s Appointment

        From 2003 through 2011, the Defendant in this case, Timothy J. Roth (“Tim Roth” or

“Roth”),     a    Champaign-Urbana,           Illinois-based     investment        adviser,     misappropriated

approximately $16 million worth of client funds from individuals and certain non-qualified

option compensation plans for which he provided investment services and advice. This

misappropriation was accomplished in part through actions taken by Tim Roth using KeyOp

2
 The Receiver’s distribution of remaining funds does not include injured investor Donna Carroll, as Ms. Carroll did
not file a claim in the Receivership.

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Exercise, Inc. (“KeyOp”), an Illinois corporation owned and/or controlled by Tim Roth.

       Tim Roth transferred some of the stolen money to Mezolink, Inc. (“Mezolink”), an

Illinois corporation, VCNCelect.org (“Celect”), a California limited liability company, and VComm

Network Canada, Inc. (“VComm”), a Canada corporation; companies in which Tim Roth had

ownership and/or financial interests. Additional funds were transferred by Tim Roth to various

individuals and entities in the form of gifts, loans, or investments.

       When the fraud was discovered in early 2011, the United States Securities and Exchange

Commission (the “SEC”) filed the instant case and sought a temporary restraining order freezing

the stolen monies and accounts of Tim Roth, KeyOp, Mezolink, Celect and VComm, and

requesting the appointment of a receiver. (See ECF Nos. 1 – 9, March 21, 2011, ECF No. 26,

March 30, 2011). On March 31, 2011, this Court entered an Agreed Order for Preliminary

Injunction (ECF No. 29) and appointed the undersigned as Receiver for (1) the estate of

Defendant Tim Roth; (2) KeyOp, Mezolink, Celect and VComm (together, the “Relief

Defendants”); (3) all funds, accounts, and other assets held by or for the benefit of Defendant

or Relief Defendants that were received, directly or indirectly, from Defendant or Relief

Defendant; and (4) every other corporation, partnership, trust and/or other entity (regardless

of form) that is directly or indirectly owned by or under the direct control of Defendant or Relief

Defendants (ECF No. 31) (the “Order Appointing Receiver”).

        b. Receiver’s Investigation and Recovery Efforts

       Following his appointment, the Receiver, acting pursuant to the powers granted to him

in the Order Appointing Receiver, investigated the scope of the fraudulent scheme, including

identifying and locating the investors whose funds were stolen by Roth and the location of


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stolen funds and assets purchased with those funds, as well as identifying other creditors of the

Receivership Estate. The investigation included a forensic accounting of the relevant records

(to the extent such records existed or were available to the Receiver), as well as discovery

conducted pursuant to the powers granted to the Receiver.

       Throughout the course of this matter, the Receiver filed quarterly reports with the Court

detailing the Receiver’s progress in his efforts to investigate and recover assets belonging to the

Receivership Estate, the latest such quarterly report being the Twenty-Eighth Report of

Receiver, filed July 15, 2015 (ECF No. 257). An overview of the collection efforts is included

herein. For more detailed information on any of the listed items, please refer to the quarterly

reports.         Copies of the quarterly reports and other filings can be found at

http://rothcosreceiver.com under the “Civil Court Documents” tab.

III.   RECOVERY TO DATE

       The Receiver’s total recovery to date is the product of the funds recovered from sales of

assets of Timothy Roth and the lawsuits pursued by the Receiver.

           a. Sales of Receivership Assets and Recovered Funds

       The Receiver has sold, after this Court’s approval, the following assets recovered from

Tim Roth and Relief Defendants:

                 A Ford Truck owned by Tim Roth;

                 A Mercedes owned by Tim Roth;

                 Office furniture from Celect to Whole Cubes, LLC;

                 Computers and related electronic equipment to Integrity Global Solutions, Inc.;

                 The business operations of VCN Celect.org, LLC and VCOMM Networks of Canada
                  to All Web Network, Inc.;
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               Telephones owned by Keysoft to the Champaign Telephone Company; and

               Various other miscellaneous items including an air conditioning unit, computers,
                clocks, a security camera, 22” LCD televisions along with other items were sold
                through eBay.

          b. Ancillary Proceedings

       The Receiver has filed separate lawsuits against a number of parties to recover funds

that were misappropriated by Tim Roth. On March 8, 2012, the Receiver filed a complaint

in case number 12-CV-2078 against Comprehensive Group Capital Management, Inc.

(“CCM”) and Comprehensive Asset Management Servicing, Inc. (“CAMAS”) (12-CV-2078, ECF

No. 1). This case was consolidated with case Nos. 11-CV-2287 and 13-CV-2012, and these

claims, along with potential claims against TD Ameritrade (the custodian of certain of the

investor accounts), were mediated on July 9 and 10, 2013. These claims were ultimately

negotiated to settlement, the specifics of which are to remain confidential per the

settlement order. On December 13, 2013, the Receiver filed a Motion (ECF No. 214) seeking

approval of the settlements between the investors and CCM, CAMAS and TD Ameritrade.

On January 15, 2014, this Court, via written Order (ECF No. 224), granted the Receiver’s

Motion.

       On March 6, 2013, the Receiver filed suit against several of the former directors and

officers of Celect, Vcomm, KeyOp, and Optimum Interactive (USA), Ltd., companies

controlled by Tim Roth, in case number 13-CV-2057, alleging breaches of fiduciary duty and

negligence. (13-CV-2057, ECF No. 1, ECF No. 58, ECF No. 76). The parties reached a

settlement in that matter and the Receiver filed his Motion to approve that settlement (13-

CV-2057, ECF No. 81) which was granted by this Court via written Order (13-CV-2057, ECF
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No. 84) on September 11, 2015.       The Receiver moved for voluntary dismissal of the

remaining two defendants, Gregory and Karen Roth (13-CV-2057, ECF No. 87), due to their

inability to satisfy any judgment, which was confirmed by financial affidavits submitted to

the Receiver by those parties.

        The Receiver also entered into a settlement agreement with Richard D. Miller and

Caught in the Crossfire, LLC (13-CV-1298, ECF No. 254) related to their respective interests

in a film entitled “Caught in the Crossfire”, the rights to which were entangled in a

bankruptcy proceeding in the Central District of California case No. 2:12-bk-43165-ER. This

agreement was approved by this Court, via minute entry, following a hearing on July 24,

2015.

        On July 2, 2013, the Receiver filed an Omnibus Complaint for Monies Owed to the

Receivership (13-CV-1298, ECF No. 1) against several individuals and companies seeking to

consolidate a number of claims the Receiver possessed. That Complaint named: (1) Anthony

Roth; (2) Commerce Planet, Inc.; (3) Red Barn Coffee Roasters, Inc.; (4) Rickshaw Media

Group, Inc.; (5) Derek Chin; (6) Theodore Roth; (7) Berna Kasarci; (8) James Huber; (9) Brian

Adams; (10) David Brown; (11) Aaron Wagener; (12) Terri Mathis; and (13) KCM Autocare,

Inc. On July 13, 2015, The Receiver filed his First Amended Omnibus Complaint (13-CV-

1298, ECF No. 63) which named the above-individuals and added counts against: Scott

Gooden; Corey Mathis; Vyze Productions, Inc.; and Michael Flynn. Some of the claims in the

First Amended Omnibus Complaint have been resolved by settlement and others remain

pending (See below).

        Additionally, the Receiver has moved for Entry of Default against Rickshaw Media


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Group, Inc. and Berna Kasarci (13-CV-1298, ECF No. 66) which this Court granted through a

written Order (13-CV-1289, ECF No. 68) on August 18, 2015.              Based on additional

information gleaned from various sources, it was determined that Vyze Productions, Inc.

and Commerce Planet, Inc. were defunct with no substantial assets. Rather than expend

further resources pursuing claims against these entities for which no recovery was likely,

the Receiver moved for approval from this Court for voluntary dismissal of these claims.

(13-CV-1289, ECF Nos. 78 & 80). Also, the Receiver entered into a settlement agreement

with QPS, without filing suit, for royalties owed to Keysoft Group.

        c. Pending Claims and Future Income

       In case number 11-CV-2079, the Receiver has potential future income from

settlements reached in that case with: (1) Leon Odendaal, related to assignment of a claim

for which he is a creditor related to a settlement of a case brought in the Northern District

of Ohio (ECF No. 212); (2) Atish Doshi and Black Card Media (ECF No. 206); and (3) Caught in

the Crossfire, LLC (ECF No. 261).

       In case number 13-CV-1298, the Receiver is due and owed potential future income

from settlements with: (1) Terri Mathis; (2) Brian Adams; (3) Derek Chin; and (4) Red Barn

Coffee Roasters, Inc.

       Additionally, in 13-CV-1298, the Receiver continues to pursue claims against the

following individuals: (1) Scott Gooden; (2) Michael Flynn; (3) Theodore Roth; and (4) Corey

Mathis. The Receiver remains in active pursuit of these claims though the total recovery on

these claims is not expected to be substantial.

        d. SEC Fair Fund


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            The Receivership Estate expects to receive certain funds in the amount of ONE

HUNDRED AND TWENTY THOUSAND AND 00/100 ($120,000.00) (the “Fair Fund”) which, as

discussed previously, is to be distributed in accordance with SEC’s Order Approving Plan of

Distribution.

IV.         DISTRIBUTION PLAN

            The Receiver proposes any remaining funds, after application of the fees and expenses

set forth herein, and the SEC Fair Fund funds be distributed to the injured investors in

accordance with the allocations set forth in the Final Accounting, attached as Exhibit A.3

Following termination of the Receivership Estate, the remaining outstanding settlements and

future funds recovered, if any, from the pending claims, after application of attorneys’ fees and

costs, will be distributed in accordance with the pro rata shares, as indicated in the Final

Accounting.

V.          CLAIMS AGAINST THE RECEIVERSHIP ESTATE

            The Receiver previously created in the website a claims form for those parties who have

claims against Mr. Roth or any of the Relief Defendants. The deadline for the receipt of claims

was March 31, 2013. Notice of the closing of the period for receipt of claims was served on the

parties to this case, claimants, and all other interested persons and entities of which the

Receiver has been made aware on February 6, 2013, via e-mail, and notice was published in

compliance with the Court’s Order of January 29, 2013 (ECF No. 180). A schedule of claims filed

before the claims closure date is attached hereto as Exhibit B. No funds will remain to pay

these creditors.


3
    Receipt of the funds of the SEC Fair Fund is contingent upon approval, by the SEC, of the Receiver’s Plan.

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VI.    ADDITIONAL MATTERS

        a. Receiver’s Website

       The Receiver has maintained a website (www.rothcosreceiver.com) to keep claimants

and other interested parties apprised of the status of the Receivership Estate. The Receiver

proposes posting a notice on the website for 30 days after entry of an order from this Court

approving the Receiver’s Final Report and closing the Receivership Estate after which time, the

website may be shut down and discontinued without further order of this Court.

        b.     Miscellaneous Assets

       The Receiver is also in possession of miscellaneous personal property, including

computers and other various office-related equipment and furniture. These items are obsolete

and have minimal value. As such, the Receiver has filed a motion seeking permission from this

Court to retain a service to properly destroy records and to dispose of the electronics and other

such assets, barring any claims that the same should be preserved. (See Motion for Order

Approving Receiver’s Final Report and Plan of Distribution, Approving Final Applications of

Compensation, Terminating the Receivership, Discharging the Receiver and For Other Relief,

filed contemporaneously herewith.

        c. Final Order

       Upon entry of this Court’s Order approving this Final Report and Plan of Distribution, the

such order shall control the legal rights of all parties, individuals and entities associated with

the Receivership as stated therein, which shall be binding to the extent specified in the Order.




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                              Gregory J. Rastatter


                       By: s/Gregory J. Rastatter_______
                         Heyl, Royster, Voelker & Allen
                            124 SW Adams Street
                                  Suite 600
                             Peoria, Illinois 61602
                          Telephone: 309.676.0400
                           Facsimile: 309.676.3374
                                ARDC #6280965




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                                        Final Accounting (Amended)
           United States Securities and Exchange Commission v. Timothy J. Roth, Case No. 11-CV-
                                                   2079
                                          As of November 3, 2015



Receivership Estate



          Receivership Recovery Less Distributions, Attorneys' Fees and
                                                                           $            629,365.82
          Expenses


          Outstanding Attorneys' Fees and Expenses                         $          (608,864.74)


          Projected Fees and Expenses for Nov. 4, 2015                     $             (5,000.00)


          Expenses for Destruction and Disposition of Remaining Assets     $             (1,489.65)


          Net                                                              $             14,011.43



Distributions to Investors



          SEC Fair Fund

                                                          Amount of
                                                                               Allocation (Pro Rata)
                                                         Distribution
                      Hamilton Trusts                $          1,644.00                      1.37%
                      Sentara                        $        54,408.00                      45.34%
                      TIC                            $        20,916.00                      17.43%
                      Hickory Point                  $        14,352.00                      11.96%
                      St. Paul                       $        12,804.00                      10.67%
                      Audrey Hodgins                 $        14,856.00                      12.38%
                      Donna Carroll                  $          1,020.00                      0.85%
                      Total                          $       120,000.00                     100.00%


          Future Funds
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Sentara                                      45.73%
TIC                                          17.58%
Hickory Point                                12.07%
St. Paul                                     10.76%
Audrey Hodgins                               12.48%
Total                                       100.00%
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Claimants
Name on Claim            Company/Fraternity          Type of Claim          Amount Claimed

Nicholas Begich, III     FarShore Ventures, LLC      Services Performed              $1,784.30

Nicholas Begich, III     FarShore Ventures II, LLC Services Performed               $40,459.13
                         Highway Pentecostal
Pam de Vries             Church                    Undeveloped Websites               $563.87

Gina Fieramosca          Former Celect Employee Wages/Salary                         $1,281.79
                         Kappa Alpha Order-Alpha Website Funds
Dan Horning              Nu Chapter              Deposited                            $449.00

                                                     Website Funds
                                                     Deposited/
Tim Humphries            Alpha Omicron Pi            Undeveloped Websites           $20,295.00
Adam Jacobs              Genesis Adaptive            Services Performed              $9,287.50
                         Alpha Gamma Rho-            Website Funds
Philip Josephson         Galstad Claim               Deposited                        $500.00
                         Alpha Gamma Rho-            Website Funds
Philip Josephson         Schaumberg Claim            Deposited                       $2,000.00
Delbert Ketteman         Parking Solutions, Inc.     Services Performed              $1,473.94
                         Pentecostal Assemblies
Elaine King              of Canada                   Goods Sold                      $8,486.53
Joseph Lovell            CFS, Services, Inc.         Services Performed             $16,408.89
                         Alpha Gamma Delta-Rho
                         Chapter at Iowa State       Website Funds
Katie Morgan             University                  Deposited                       $1,512.43
                         American Express            Goods Sold/ Services
Lawrence Nessenson       Centurion Bank, FSB         Performed                     $132,257.89
Diane Roblin-Lee         By Design Media             Goods Sold                      $5,000.00
                         Phi Kappa Sigma
                         International Fraternity,
Toby Smith               Inc.                        Undeveloped Websites            $7,450.00

Jeremy Turner            Former Celect Employee Wages/Salary                         $9,800.00

                         Davis Alpha Gamma Rho       Websites Funds
Jeremy Turner            Alumni Association          Deposited                        $551.16
                         Former Mezolink
Theodore Veatch          Employee                    Wages/Salary                    $1,730.77
Paul De Grijp            BackupAgent BV              Services Performed              $1,435.54
Larry Willard            Castle Quay Books           Services Performed              $8,400.00

Chad Ritchie/Kim Ragle   Flanagan State Bank         Other- Rent                    $15,800.00

William Seligstein       FedEx TechConnect, Inc      Services Performed              $1,590.74


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                                                  Website Funds
Jordan Commander        Theta Xi Fraternity       Deposited                       $3,700.00
                        Sigma Chi Fraternity-     Website Funds
Adam Gluskin            Kappa Sigma Chapter       Deposited                       $3,497.42

Ronald Trucks           Theta Xi Fraternity       Undeveloped Websites            $5,500.00
                        Mark Bailey & Company,    Services Performed-
Marty Weigel            Ltd.                      Mezolink                       $24,796.68
                        Mark Bailey & Company,    Services Performed-
Marty Weigel            Ltd.                      Celect                         $20,000.00

                        Southeastern Panhellenic
Darald Stubbs           Association                 Services Performed           $87,767.42
                                                    Goods Sold/ Services
Dana Chudzinski         House of Roland, Inc.       Performed                     $3,300.00
                        The Pentecostal
Judy Hearn              Assemblies of Canada        Services Performed            $2,235.03
                        Alpha Epsilon Pi
                        Fraternity, Inc Univ of     Website Funds
Stephen Bernstein       Wisconsin                   Deposited                    $14,335.00
Roy Groesbeck           Mueller & Co., LLP          Services Performed            $5,300.00
William Warren          Royal Transit, Inc          Services Performed               $47.25
                        AT&T Services, Inc.
Cassandra Clark         James Grudas, Esq.          Services Performed           $38,804.51
                        Design & Manufacturing, Website Funds-
Brian Hendricks         Inc.                        Deposited                    $10,061.02
                                                    Other-claim for
                        Bird River Camping Inc. payment for building a
                        aka Bird River Bible        new website and getting
Charles Kroeker         Camp                        a new host                     $454.81
                        Former Mezolink
William Piper           Employee                    Wages/Salary                 $14,000.00
                        Fiscella Building Services,
Lynn Fiscella           Inc.                        Services Performed             $320.00
                        Former Mezolink
Brian Kirk              Employee                    Wages/Salary                 $18,627.38
                        Sigma Alpha Epsilon
                        Fraternity, NC Theta        Website Funds
John Stringfellow       Chapter                     Deposited                     $6,825.00

James Zumwalt and Matt Alpha Corporation
Full                   Educational Foundation     Other-Investment              $220,000.00
David Rolf
                       Sprint Nextel
Brian Bollig           Corporation                Services Performed               $294.96
                       Purity Plus an RK Dixon
Ray Cotty              Company                    Services Performed               $239.70
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                    Alpha Phi Alpha            Other/ Website funds
Avery Gaddis        Faternity, Inc.            deposited                      $675.00

                    ML Imaging Inc., DBA
Thomas Miller       Quartet Digital Printing   Services Performed             $750.39
                    Service Management
Lawrence Sheets     Dynamix, LLC               Services Performed            $7,396.97
Suzanne Raiche      Norton Rose OR LLP         Services Performed            $6,342.89
                    Cold Lake Community        Website Funds
Lance Steeves       Church                     Deposited                     $5,795.60
                                               Other-Back and Accruing
Mary Ann Royse      M2 on Neil LLC             Rent                        $187,404.17
                    Fraternity
                    Communications             Website Funds
Jesse Lyons         Association                Deposited                     $8,750.00
Jennifer Richards   Citrix Online, LLC         Services Performed             $589.76
                    Delta Phi Mu Sorority,     Website Funds
Rosemarie Sopher    Inc.                       Deposited                      $280.00
                    CACH, LLC (Bank of
Brian Sullivan      America Credit Card)       Services Performed           $19,439.62
                    Sigma Chi Fraternity-
                    Epsilon Chapter at The
                    George Washington          Website Funds
Michael Katz        University                 Deposited                     $7,707.01
                    Fox/Atkins Development,    Other-Back and Accruing
Masha Trenhaile     LLC                        Rent                          $6,192.86
                    Dallas Sigma Chi Alumni    Website Funds
Brad Stevens        Chapter                    Deposited                      $560.00
Brian Adams                                    Wages/Salary                $257,616.12
                                               Other-
                                               Secured/Guaranteed
Brian Adams                                    Loan                         $55,545.00
                                               Other-
                                               Secured/Guaranteed
Brian Adams                                    Loan                        $106,599.00
                                               Other-Unpaid Earn-out
                                               Per Asset Purchase
Brian Adams                                    Agreement                     $5,175.58
                                               Other-Unreimbursed
Brian Adams                                    Expenses                      $4,101.91
                    Pretzel & Stouffer
Joe Rosenthal       Chartered                  Services Performed           $24,025.00

                    Dallas Allumnae Chapter Website Funds
Amanda Heilers      of Delta Delta Delta      Deposited                       $642.00
                    Internal Revenue Service,
Mary Brellinger     St. Louis, MO             Other- Taxes                 $156,270.87
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                      Illinois Department of
Sharity Woods         Revenue                   Other-Taxes                      $5,409.34
                      Illinois Bell Telephone
                      Company, c/o James
Marin West            Grudus, Esq.              Services Performed               $2,452.00
Jeff Haynes           Haynes Construction       Services Performed               $6,385.37
Michelle Brooks       City of Urbana            Services Performed                $115.80
                      Hamilton Brook Smith
Mike Keweshan         Reynolds                  Services Performed                 $680.00
                      Hamilton Brook Smith
Mike Keweshan         Reynolds                  Services Performed               $5,243.50
                                                Services
Julie Bell            Midland States Bank       Performed/other                $280,561.44
                      Former Chapter
                      Communications
Kevin Glowacz         Employee                 Wages/Salary                     $30,055.47
David Hensleigh       TopTrips LLC             Services Performed                 $122.00
                                               Services
Michael McClure                                Performed/other                   $1,200.00
Gary Burgett          Smith/Burgett Architects Services Performed                $5,583.50

                      NYS Department of Labor
Lisa Pearson          In re: 49-55326 2 (Taxes) Other                              $429.26
                                                Goods Sold/ Services
Patrick Spegal        KCM Auto Care             Performed/ Wages                $19,650.48
                      Alabama Department of
Kimberly Scott        Labor (Taxes)             Other                              $617.56
                      Health Alliance Medical
Debbie Cagle          Plans, Inc.               Services Performed               $1,313.00
                      Barclays Bank of
Elias Christopoulos   Delaware                  Other                            $5,595.01
Jonathan Mazin                                  Wages/Salary                     $2,145.32
                      State of NY Workers
                      Compensation Board-
James McGinn          Judgment Unit (Taxes)     Other                            $8,534.33
Joseph Orvos                                    Wages/Salary                    $60,082.00
Steven Blakely        Terri Mathis              Other                          $205,000.00
Deborah Seabright                               Services Performed                $150.00
                      TD Ameritrade Individual
Ronald Bretzke        IRA                       Other                             $1,708.73
                                                Total                         $2,273,518.52
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Investors
                   Travelers Insurance on
                   behalf of Great Lakes
                   Higher Education
Sherrie Monteiro   Corporation Option Plan   Investor                    $1,906,541.00
Matthew Henry      TIC Holdings                                          $3,012,959.39
Gary Bryant        Sentara Healthcare        Investor                    $9,902,039.00
                   Audrey Salentin Hodgins
Jessica Hodgins    Trust                     Investor                    $2,073,330.54
                   Archer Daniels Midland
Jeremy Harrell     Co                        Investor                    $1,326,292.00

Susan Patterson    Elizabeth Hamilton Trust Other                          $485,000.00
                                            Total                       $18,706,161.93
